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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,      )              CASE NO. 8:08CR175
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )
                                              )                    ORDER
JOHN GORDON,                                  )
                                              )
              Defendant.                      )
                                              )


       This matter is before the Court on the Defendant’s unopposed motion for an

extension of time to file objections to the Magistrate Judge’s Report and Recommendation

(Filing No. 69).

       IT IS ORDERED:

       1.     The Defendant’s motion for an extension of time to file objections to the

              Magistrate Judge’s Report and Recommendation (Filing No. 69) is granted;

              and

       2.     The Defendant must file any objections to the Report and Recommendation

              on or before October 16, 2008.

       DATED this 10th day of October, 2008.

                                                  BY THE COURT:

                                                  s/ Laurie Smith Camp
                                                  United States District Judge
